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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                               MIDLAND/ODESSA DIVISION

 PHILADELPHIA INDEMNITY                             §
 INSURANCE COMPANY,                                 §
                                                    §
                                                    §
          Plaintiff,                                §
                                                    §
 v.                                                 §    CASE NO. 7:19-CV-00107-DC
                                                    §
 THE ODESSA FAMILY YMCA,                            §
                                                    §
          Defendant.                                §

                          ORDER GRANTING MOTION TO COMPEL

         On this date came on for consideration Plaintiff’s Motion to Compel Compliance with a

Subpoena to Produce Documents. The Court finds that the Motion should be granted as set forth

below.

         IT IS, THEREFORE, ORDERED that the Motion is GRANTED and the following relief is

provided to Plaintiff:

         1.              Mr. Rogers will confirm whether or not he has produced all non-ESI
                         documents sought by the subpoena;

         2.              Mr. Rogers will provide answers to the questions set forth in Philadelphia’s
                         October 16, 2019 meet and confer letter within ten (10) days of the date of
                         this letter; and

         3.              at Plaintiff’s expense, Mr. Rogers will allow a forensic computer expert to
                         search his computers, cellular telephone and voicemail for any Electronically
                         Stored Information that may be responsive to Plaintiff’s subpoena.

ORDER ENTERED this ____ day of _________, 2020.


                                                    _____________________________
                                                    DAVID COUNTS
                                                    UNITED STATES DISTRICT JUDGE


ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL                                             PAGE - SOLO
